                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW MEXICO
In re:

LAS UVAS VALLEY DAIRIES,
a New Mexico General Partnership

         Debtor.                                                      No. 11-17-12356-TA


                                         FINAL DECREE

The Estate of the above-named Debtor has been fully administered.

IT IS ORDERED THAT:

    1.   The chapter 11 case of the above-named debtor is closed; and

    2. The Court shall retain jurisdiction to enter orders after the entry of the final decree on the

         Water Rights Avoidance Action, any administrative claims or professional fee claims,

         any pending adversary proceedings, any questions, clarifications, or orders necessary to

         effectuate the provisions of the Plan, Order of Confirmation, or Liquidating Trust

         Agreement, and any claims objections with respect to which no order has yet been

         entered.

                                     ### END OF ORDER ###

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